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Laura Kessel: Lessons in mourning come easier with time

Laura Kessel
Aug 1, 2010

It's not easy to mourn those we don't know, yet we do it every day. When friends share news that someone they
know has died, we feel empathy. When news breaks that celebrities whose work we enjoy have passed away, we
admit we feel bad. "Please do not forget me, God. As I travel through loneliness and sadness each day, help me to
do this in a positive way." I met Andre Parhamovich in the lowest moments of his life. It was just days after his
namesake daughter, Andrea, was killed while working in Iraq as part of a mission to teach the new government
how to exist as a democracy. Andi, as I've come to know her, was a Perry native who headed to New York City to
change the world. When she died Jan. 17, 2007, she was 28 and about to marry a guy who worked for Newsweek
magazine. Her new life ended before it began, in smoke and twisted metal after a grenade struck her car as it left
the Green Zone in Baghdad. In many ways, as Andi's life ended, so too did Andre's. "On the day my life changed
forever ... I knew that I would never be the same. I knew that every remaining day of my life would be filled with
sadness and pain."' A longtime physical education teacher and coach in Painesville City Schools, Parhamovich for
many years led area youngsters to try harder, be better and become leaders. After Andi died, he struggled to find
meaning, even as life moved on around him. I first crossed his path Jan. 31, 2007, at Johnson Funeral Home in
Painesville. Three of us from the paper had been invited to attend the calling hours after working on a story that
detailed Andi's life in Perry, her college at Marietta and a career that took her to Boston, New York then Iraq. Once
we reached the front of the reception line, I met Andi's sister, Marci, and mother, Vicki, who greeted me with
hugs. Andre looked me over through red-rimmed eyes then offered his hand. We passed out of the line to say
hello to Andi's fiance, Michael Hastings, and talked with him a while. Each time I looked up, I caught Parhamovich's
eye. Sometimes there were tears, other times just a blank stare. On a snowy drive back to Willoughby, I told a
colleague that I shouldn't have gone. "Mr. Parhamovich didn't want me there, I could tell." "Don't be silly." "He
didn't know who I was and seemed kind of angry that I was there." "There was a lot going on." "There are
mornings when my 'new normal' means simply getting through the day, just 'living to live.' " Winter 2008 brought
Hastings' book about Andi's death, "I Lost My Love in Baghdad." He stopped in the area when the book was
released, and did a book signing in Mentor. We'd published a story about Hastings' decision to write the book and
a review the Sunday before the signing, and we received more hugs as we waited in line at LaMalfa to see him. We
got drinks and a few hors d'oeuvres as we waited at a back table as instructed by the author. As Marci walked by, I
asked if her dad was present at the signing, and she pointed out a man sitting alone in the corner. He looked thin
and never raised his eyes from the table. I asked about his health, worried that perhaps he'd fallen ill. Marci said
no, that he was still struggling with Andi's death. I went over to say hello and introduce myself and he looked up
and took my hand. "I remember you. You were the one responsible for that beautiful story about my Andi." "Yes,
that was me." "I have wanted to thank you for that for so long. It meant everything." "... I cry more on the 'inside'
now than I do on the 'outside.' Thus, a father's 'quiet tears.' " Summer 2009 brought an invitation to play in the
annual Andi Foundation golf outing, which raises funds for scholarships that go to women who are interested in
working in politics and media. The foundation awards prizes each year to a Perry High student, a Marietta College
student and a student from a country in which the National Democratic Institute is doing work. Andi worked for
NDI at the time of her death. I'm no golfer, but Marci said I could play on her team, which she said was filled with
other non-golfers. I'd dispute that

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fact, but I don't want to say Marci was stretching the truth. Parhamovich drove a golf cart that day,
offering drinks and talking among the golfers at Thunder Hill Golf Course in Madison. Afterward, he told me he
doesn't have the patience for golf and instead just likes to talk to those participating. "Grief is like wearing invisible
clothing. No one else can see it, and only I can feel it. Some days it is heavy, some days it is light, But I know it will
be with me for the rest of my life." Last Friday, as I made a mid-morning walk across the newsroom, my eyes turned
toward my mailbox. The increase in e-mail has helped ease the strain that used to tax our tiny slots, but on this
day, a thick Manila package peeked from mine. As I pulled it out, a familiar name peeked back. "Mr. Andre
Parhamovich" I hustled back to my office and ripped open the flap. I turned the contents over onto my desk and
out fell a hardcover book with a piece of paper tucked inside. "Unfinished Business" by Lee Kravitz was printed
under "One Man's Extraordinary Year of Trying to Do the Right Things." With no indication why Parhamovich sent
this particular book, I unfolded the paper inside. I found a photocopy of an essay he'd written for "We Need Not
Walk Alone," a magazine produced by The Compassionate Friends, a support group for parents who've lost
children. Still no note. I checked the envelope and way down inside I found a piece of stationary, and
Parhamovich's note. "My family and I wanted to share this book with you." I read the book jacket and discovered it
was written by a Cleveland native who had undergone a life-changing event when he lost his job in publishing. I
still didn't understand why the Parhamoviches wanted me to read it. But it didn't take long to figure it out. "As I lay
awake, I thought about Andre, our right fielder, who was a superb athlete and an even better human being.
Although I hadn't seen him since that longago summer, I had recently seen a photo of his daughter in the New York
Times. She had been ambushed and killed on a peace mission to Iraq. Putting myself in Andre's place, I cried and
cried. Somehow I still hadn't written to my old teammate to tell him how sorry I was for his loss." But what I found
on Page 9 was just the beginning of the revelations that both Kravitz made in his life and those his book provided
in mine. In the book, Kravitz spends a year dealing with 10 things in his life that he either neglected or had let slip
away. He reconnects with Parhamovich as Andre teaches him how to coach baseball so he is able to become a
more active part of his children's lives. They renew a bond that was cherished by both in their formative years. He
also thanks a former teacher who sparked an interest in learning, found a relative who once was the only one who
understood him and paid back debts that had haunted him for years. "Whatever your 'new normal' is, it may help
you to find at least small comforts in your pain." When I received the book, I debated whether a note or phone call
in thanks would be appropriate. After reading it, I realized a note would never suffice. He barely let me speak,
thanking me for stories The News-Herald and I myself have written over the years about Andi. He said Andi's death
changed him in many ways, including a newfound ability to speak out and say what he is feeling. "Before January
of 2007, I was really a selfish person," he said. "Now when there are special moments, I know that I need to reach
out." I told him that the book arrived at a good time in my life, when I can appreciate such wisdom as Kravitz
shares. "I'm just glad it could touch your life." Much the way that Parhamovich continues to. Editor's note: The
italicized passages are part of an essay called "A New Normal" by Parhamovich that was published in "We Need
Not Walk Alone."




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